                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION


HARVEST INTERNATIONAL, INC.,                              Case No. 5:21-cv-04018-MAR

      Plaintiff,
                                                    DEFENDANT’S MOTION TO DISMISS
vs.

THE PHOENIX INSURANCE COMPANY
aka TRAVELERS,

      Defendant.


       Defendant, The Phoenix Insurance Company (sued as “The Phoenix Insurance Company

aka Travelers”) (“Phoenix”), pursuant to Federal Rule of Civil Procedure 12(b)(6) and Local

Rule 7, submits the following Motion to Dismiss:

       1.      Plaintiff Harvest International, Inc. (“Harvest”) filed this insurance coverage

declaratory judgment action under theories of breach of contract and the doctrine of reasonable

expectations and alleging bad faith relative to four separate insurance claims it submitted to

Phoenix.

       2.      By this Motion, Phoenix seeks dismissal of Counts I, II, V (to the extent arising

from the Friesen Action1 and the COVID-19 business interruption claim), VI, VII (to the extent

arising from the Friesen Action and the COVID-19 business interruption claim), and VIII (to the

extent arising from the Friesen Action and the COVID-19 business interruption claim) of

Harvest’s First Amended Petition.


1 The “Friesen Action” refers to the action currently pending in the United States District Court
for the Southern District of Iowa, Central Division, captioned Friesen v. Harvest International,
Inc., Case No. 1:20-cv000014-JAJ-HCA.
       3.      Harvest’s insurance policies issued by Phoenix indisputably provide no coverage

for the claims asserted against Harvest in the Friesen Action or for Harvest’s business

interruption claim.

       4.      As a result, Harvest has failed to state declaratory judgment, breach of contract,

and bad faith claims upon which relief can be granted relative to these two matters.

       5.      Additionally, Harvest has failed to allege any of the elements or prerequisites of

the reasonable expectations doctrine.

       6.      As a result, Harvest has failed to state a claim upon which relief can be granted

under the doctrine of reasonable expectations.

       7.      For these reasons, and as set out and discussed more fully in Phoenix’s Brief in

support of this Motion, Harvest has failed to state a claim for which relief can be granted under

Counts I, II, V (Friesen Action and COVID-19 business interruption claim), VI, VII (Friesen

Action and COVID-19 business interruption claim), and VIII (Friesen Action and COVID-19

business interruption claim) of its First Amended Petition.

       8.      Phoenix respectfully requests that the Court enter an Order dismissing each of

these claims pursuant to Federal Rule of Civil Procedure 12(b)(6).

       WHEREFORE Defendant The Phoenix Insurance Company (sued as “The Phoenix

Insurance Company aka Travelers”) respectfully requests that the Court enter an Order

dismissing Counts I, II, V (to the extent arising from the Friesen Action and the COVID-19

business interruption claim), VI, VII (to the extent arising from the Friesen Action and the

COVID-19 business interruption claim), and VIII (to the extent arising from the Friesen Action

and the COVID-19 business interruption claim) of Plaintiff’s First Amended Petition for failure




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to state a claim upon which relief can be granted, and grant such other and further relief as the

Court deems just and equitable.

                                              LEDERER WESTON CRAIG PLC


                                           By /s/ Brenda K. Wallrichs
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                                              ATTORNEY FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2021, I electronically filed the foregoing with the Clerk of
the U.S. District Court for the Northern District of Iowa, Western Division, using the ECF
system which will send notification of such filing to the following:

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       ATTORNEYS FOR PLAINTIFF

       Executed this 5th day of May, 2021.


                                              /s/ Brenda K. Wallrichs




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